UNITED STATES DISTRICT COURT                                                                X
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,                                                    5/27/2019

 and
                                                        Docket No. 1:19-cv-03826-ER
 THE DONALD J. TRUMP REVOCABLE
 TRUST, THE TRUMP ORGANIZATION,                         JOINT MOTION TO STAY
 INC., TRUMP ORGANIZATION LLC, DJT
 HOLDINGS LLC, DJT HOLDINGS
 MANAGING MEMBER LLC, TRUMP
 ACQUISITION LLC, and TRUMP
 ACQUISITION, CORP.,

                                Plaintiffs,

                 - against -

 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                                Defendants,

 and

 COMMITTEE ON FINANCIAL SERVICES
 OF THE U.S. HOUSE OF
 REPRESENTATIVES and PERMANENT
 SELECT COMMITTEE ON
 INTELLIGENCE OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                         Intervenor-Defendants.

       The parties jointly ask this Court to stay further proceedings in this case until Plaintiffs’

interlocutory appeal from the denial of their motion for a preliminary injunction is resolved.

       After Plaintiffs filed this suit on April 29, 2019, the Defendant Banks and Intervenor-

Defendant Committees agreed not to comply with or enforce the challenged subpoenas until seven

days after this Court resolved Plaintiffs’ preliminary-injunction motion. See Dkt. No. 22. This Court

denied Plaintiffs’ motion on May 22, and Plaintiffs filed an interlocutory appeal on May 24. See
Dkt. Nos. 59, 60. The parties have reached an agreement regarding compliance with and enforcement

of the subpoenas during the pendency of Plaintiffs’ appeal. See CA2 Dkt. No. 5-2.

        Accordingly, the parties agree that proceedings in this Court should be stayed while Plaintiffs’

interlocutory appeal is pending. If this Court’s order is ultimately affirmed on appeal, then this case

may become moot before any meaningful proceedings can be conducted here. And if this Court’s

order is not ultimately affirmed, then the proceedings here will have the benefit of the appellate court’s

ruling. Either way, conducting simultaneous proceedings in this Court and the appellate court would

not be an efficient use of the parties’ or the Court’s resources. The parties thus respectfully ask the

Court to stay further proceedings until Plaintiffs’ interlocutory appeal is resolved.




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Dated: May 25, 2019                                            Respectfully submitted,

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